                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
NIKKI BOLLINGER GRAE
     Plaintiff,

     v.
                                                                    Case No.    3:16-cv-2267

CORRECTIONS CORPORATION OF AMERICA, et al.
     Defendant.

                            MOTION FOR ADMISSION PRO HAC VICE
                                          Plaintiff Amalgamated Bank, as Trustee for the
          The undersigned counsel for LongView Collective Investment Fund                  hereby moves

     for admission to appear pro hac vice in this action. I hereby certify that I am a member in good

     standing from the United States District Court for the Northern District of California           .

     Attached is a Certificate of Good Standing from that Court.

                                                 s/ Willow E. Radcliffe
                                                 __________________________________
                                                                   Signature

     Name:          Willow E. Radcliffe


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     **FEE: $75.00
     (*Note: The fee may be paid through the credit card module on the Court’s ECF System if
     the motion is filed electronically, or it may be forwarded to the Clerk within 21 days after
     the filing. If forwarded to the Clerk, payment should be in the form of a check, cashier’s
     check, or money order payable to the Clerk, U. S. District Court, 801 Broadway, Room
     800, Nashville, TN 37203.)

                        * * * INCLUDE A CERTIFICATE OF SERVICE * * *
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 11, 2017, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify

that I caused to be mailed the foregoing document or paper via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on July 11, 2017.

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